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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 MELISSA BUCK; CHAD BUCK;
 SHAMBER FLORE; ST. VINCENT
 CATHOLIC CHARITIES,                               No. 1:19-cv-00286

       Plaintiffs,                                 HON. ROBERT J. JONKER
 v.
                                                   MAG. PHILLIP J. GREEN
 ELIZABETH HERTEL, in her official capacity
 as the Director of the Michigan Department of
 Health and Human Services; DEMETRIUS              STATUS UPDATE
 STARLING, in his official capacity as the
 Executive Director of the Michigan Children’s
 Services Agency; DANA NESSEL, in her
 official capacity as Michigan Attorney General;
 XAVIER BECERRA, in his official capacity as
 Secretary of Health and Human Services;
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,

       Defendants. 1


 Lori H. Windham                                   Toni L. Harris (P63111)
 Mark Rienzi                                       Cassandra Drysdale-Crown
 Nicholas Reaves                                   (P64108)
 William Haun                                      Neil Giovanatti (P82305)
 Attorney for Plaintiffs                           Attorneys for State Defendants
 The Becket Fund for Religious Liberty             MI Dep’t of Attorney General
 1919 Penn. Ave. NW, Ste. 400                      Health, Education & Family
 Washington, DC 20006                              Services Division
 (202) 955-0095                                    P.O. Box 30758
                                                   Lansing, MI 48909
 Counsel for Plaintiffs                            (517) 335-7603

                                                   Counsel for State Defendants



1 Pursuant to Fed. R. Civ. Proc. 25(d), the current public officers sued in their
official capacities are automatically substituted as parties.

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                                  STATUS UPDATE

      By Stipulated Order, dated August 13, 2021 (ECF No. 107), the Court

ordered Plaintiffs and State Defendants to provide the Court with an update within

30 days on the status of their discussions to resolve this matter.

      Plaintiffs and State Defendants have made progress in their attempt to

resolve this matter without further litigation and motion practice. Plaintiffs and

State Defendants agree to continue their discussions over the next thirty days. On

or before October 12, 2021, Plaintiffs and State Defendants will provide the Court

with an additional update on the status of their discussions.


Date: September 10, 2021                       /s/ Lori Windham
                                               Lori Windham
                                               Attorney for Plaintiffs


Date: September 10, 2021                       /s/ Neil Giovanatti
                                               Neil Giovanatti
                                               Attorney for State Defendants




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